
USCA1 Opinion

	





                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT





                                 ____________________

        No. 95-1126

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                  BENJAMIN R. ZANNI,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF RHODE ISLAND

                       [Hon. Mary M. Lisi, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Cyr, Boudin and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Edward J. Romano and Joel D. Landry II on brief for appellant.
            ________________     _________________
            Sheldon Whitehouse,  United States  Attorney, and  Edwin J.  Gale,
            __________________                                 ______________
        Assistant United States Attorney, on brief for appellee.


                                 ____________________

                                   August 18, 1995
                                 ____________________

























                 Per  Curiam.    Defendant-appellant  Benjamin  R.  Zanni
                 ___________

            appeals his sentence on  two grounds.  First, he  argues that

            the district court  erred in  failing to award  him a  three-

            level credit  for acceptance of responsibility  pursuant to  

            3E1.1   of   the   United   States    Sentencing   Guidelines

            ("U.S.S.G.").    Second,  he  contends  that  the  government

            breached the plea agreement by recommending a sentence at the

            high end of the guideline sentencing range.

                I. Acceptance of Responsibility
                   ____________________________

                 Zanni argues on appeal that the district court's failure

            to  award  him  the  three-level  credit  for  acceptance  of

            responsibility was clear error.  He contends that his initial

            statement   of  acceptance   of  responsibility   was  merely

            incomplete and  that he immediately amended  it following the

            government's  objection.   With  respect  to  his failure  to

            resign  from  office,  Zanni   emphasizes  that  he  took  no

            affirmative action to retain his seat after  his guilty plea,

            merely completing  his responsibilities to  his constituents.

            Therefore, "appellant  clearly and unequivocally ceased to be

            a public official upon his decision to enter  a plea."  Zanni

            argues that the  "crucial aspects" of    3E1.1 were satisfied

            by his clear acceptance  of responsibility and his expedition

            in notifying the government of his intention to plead guilty.

                 "The  ultimate  question  under  section  3E1.1  is  not

            whether  the  defendant has  uttered  'a pat  recital  of the



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            vocabulary of  contrition,' but whether he  has accepted full

            responsibility for his  part in the offense of  conviction by

            demonstrating 'candor and  authentic remorse.'" United States
                                                            _____________

            v.  Ocasio-Rivera, 991  F.2d 1,4  (1st Cir.  1993) (citations
                _____________

            omitted).    The   burden  is  on  the   defendant  to  prove

            entitlement to  the credit for acceptance  of responsibility.

            Id.   "The sentencing  court's determination to  withhold the
            ___

            reduction  will   be  overturned   only  if  it   is  clearly

            erroneous." Id.
                        ___

                 "The   inquiry  into  acceptance  of  responsibility  is

            necessarily factbound.   In  deciding whether a  defendant is

            entitled  to a reduction on this score, a district court must

            weigh   a  multitude   of  factors,   some  objective,   some

            subjective.  Credibility and demeanor  play a crucial role in

            determining whether a  person is genuinely contrite."  United
                                                                   ______

            States v. Royer,  895 F.2d 28,  30 (1st Cir.  1990).  At  the
            ______    _____

            sentencing hearing,  the  court stated  that  it had  had  an

            opportunity  to "evaluate [Zanni's] level of understanding of

            the  crime that  he has  committed and  his remorse  for that

            crime."  Zanni's statements before and during the hearing, as

            well  as his actions between  the time of  his arrest and his

            guilty plea  formed the  basis for the  court's determination

            that Zanni  had failed to  accept responsibility.   The court

            was  not   persuaded  that  Zanni   was  genuinely  contrite.





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            "Because  the court had a plausible basis for arriving at the

            conclusion, no more was required."  Id.  
                                                ___

                 The sentencing court was  troubled by Zanni's failure to

            acknowledge  the full  extent of his  conduct in  his initial

            statement  contained in the PSR.   Efforts by  a defendant to

            minimize   his   culpability   "whether  during   presentence

            interview  or   in  his   allocution"  are   appropriate  for

            consideration  in  denying  a  reduction  for  acceptance  of

            responsibility. Ocasio-Rivera,  991 F.2d at 5.  The court was
                            _____________

            also  disturbed by  Zanni's reference  to his  conduct during

            sentencing  as  a  "mistake."   The  court's  opportunity  at

            sentencing to see  the defendant, "listen to  him, and assess

            his credibility" is entitled to deference. Royer, 895 F.2d at
                                                       _____

            30.  

                 In denying the  three-level reduction for acceptance  of

            responsibility, the  district  court was  also influenced  by

            Zanni's conduct in failing to resign from  his position after

            his arrest and in continuing to collect his salary and to run

            for re-election until  the time  of his guilty  plea.   Zanni

            argues that  this  conduct is  irrelevant  to whether  he  is

            entitled to a reduction for acceptance of responsibility.  We

            have  held,  however,  that  a   defendant's  later  conduct,

            following the offense of conviction but before a guilty plea,

            "certainly could shed light on the sincerity of a defendant's

            claims of remorse"  and may be  considered. United States  v.
                                                        _____________



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            O'Neil, 936 F.2d  599, 600  (1st Cir. 1991).   Moreover,  the
            ______

            commentary   to     3E1.1   specifically  provides  that  one

            consideration in deciding whether  to grant the reduction for

            acceptance of responsibility  is "voluntary resignation  from

            the  office or  position held  during the  commission of  the

            offense."  U.S.S.G.   3E1.1, comment, n.1(f).

                 The district court did not commit clear error in denying

            Zanni a reduction for acceptance of responsibility.

                 II.  Breach of Plea Agreement
                      ________________________

                 Zanni argues that  the government "functionally  reneged

            on  their plea agreement"  by recommending a  sentence at the

            high  end  of the  imprisonment  range  after the  court  had

            rejected the government's recommendation that Zanni receive a

            reduction for acceptance of responsibility.  Zanni's argument

            is essentially that when the plea agreement ("the Agreement")

            was entered into, the  parties anticipated that a three-level

            reduction  would be  granted,  resulting in  an  imprisonment

            range of 18  to 24  months.  Therefore,  when the  government

            recommended sentencing Zanni at  the high end of the 27 to 33

            month range, it "functionally" breached the plea agreement.

                 "[W]hen  a plea  rests in  any significant  degree on  a

            promise or agreement  of the  prosecutor, so that  it can  be

            said  to be  part of  the inducement  or consideration,  such

            promise must be fulfilled." Santobello v. New York,  404 U.S.
                                        __________    ________

            257, 262  (1971); see  also United  States v. Kurkculer,  918
                              ___  ____ ______________    _________



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            F.2d  295, 297 (1st Cir. 1990) ("The Government must keep its

            promises  or   the  defendant  must  be   released  from  the

            bargain.").  

                 In this  case, the government fulfilled  the promises it

            made in the Agreement.   The Agreement provided that  "no one

            has promised a particular sentence or sentencing range."   It

            further  provided  that  "[d]efendant has  been  advised  and

            understands .  .  . that  the final  decision concerning  the

            range of sentences applicable  to his offense rests with  the

            Court  and that defendant will  not have a  right to withdraw

            his  plea   based  upon   the  Court's  application   of  the

            guidelines."  After Zanni amended his statement in the PSR to

            "completely  and truthfully  admit[] his  involvement in  the

            criminal  conduct  to  which  he  is  pleading  guilty,"  the

            government withdrew its opposition to a three-level reduction

            for acceptance of responsibility.  The government recommended

            a jail sentence "within  the range of jail terms  computed by

            the   Court."    The  Agreement  specifically  provided  that

            "Defendant understands  that the  government will be  free to

            recommend  any specific  sentence it  deems appropriate  from

            within that range." 

                  Zanni was not promised a  particular imprisonment range

            or a particular sentence.  The Agreement anticipated both the

            possibility that the sentencing  court would deny a reduction

            for  acceptance  of responsibility  and  that the  government



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            would  recommend a sentence at the high end of the applicable

            sentencing range.   The  government did not  breach the  plea

            agreement by recommending a  sentence at the high end  of the

            sentencing range arrived at by the court.

                 Accordingly, Zanni's sentence is summarily affirmed. See
                                                            ________  ___

            Loc. R. 27.1. 

                       







































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